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                            UNITED STATES DISTRICT COURT

                                   DISTRICT OF OREGON

                                     EUGENE DIVTSION

KIMBERLY TRENT,                                           Case No. 6:11-CY-1906

              Plaintifl                                   DEFENDANT LEAH HUFFMAN'S
                                                          ANSWER TO PLAINTIFF'S COMPLAINT
       vs.

GENERAL MOTORS LLC, a Delaware limited
liability company, and LEAH HUFFMAN,

              Defendants.

       Defendant Leah Huffman ("Defendant"), by and through one of her attorneys of record,

hereby admits, denies and answers Plaintiff s Complaint as follows:

                          I. PARTIES, JURISDICTION & VENUE

                                                  1.


       Defendant admits paragraph 1.1 of Plaintiff s Complaint.

                                                 2.

       Defendant lacks knowledge sufficient to admit or deny paragraph 1.2 of Plaintiff     s


Complaint and therefore denies.


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                                                     3.


        Defendant admits paragraphs 1.3 through 1.5 of Plaintiff s Complaint

                                               II. FACTS

                                                     4.

        Defendant admits that on September 5,20l6,Plaintiff Kimberly Trent was traveling

southbound on Interstate 5 in Woodburn, Oregon ina2007 Chevrolet HHR. Defendant lacks

knowledge sufficient to admit or deny the remaining allegations contained in paragraph 2.1    of
Plaintiff s Complaint, and the same are therefore denied.

                                                     5.

        Defendant admits that a collision occurred between Plaintiff s vehicle and Defendant's

vehicle near Exit 27l.The remaining allegations contained in paragraph2.2 of Plaintiff s

Complaint are denied.

                                                     6.

        Defendant denies paragraphs 2.3 and2.4 of Plaintiff s Complaint.

    III. PLAINTIFF'S NEGLIGENCE CLAIM AGAINST DEFENDANT HUFFMAN
                                                     7.


        Defendant denies paragraph 3.1 (including the discrete sub-paragraphs a through e

contained therein) and paragr aph 3 .2 o f Plaintiffl s Complaint.

  IV. PLAINTIFF'S CLAIMS AGAINST CO-DEFENDANT GENERAL MOTORS LLC

                                                     8.


        The allegations contained in paragraphs 4.1 through 4.6 of PlaintifPs Complaint are

directed toward co-Defendant General Motors LLC, and require no answer from Defendant. To

the extent an answer is required, Defendant denies.

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                                                     9.


         Except as expressly admitted herein, Defendant denies each and every remaining

allegation contained in Plaintiff s Complaint.

         WHEREFORE, Defendant Leah Huffman prays for judgment in her favor against

Plaintiff, for her costs and disbursements incurred herein, and for such other relief   as this Court

deems equitable, just and proper.




         Dated this   _   day of March,2020.




                                                           BARGER LAW GROUP PC



                                                 By:
                                                           Glenn E.
                                                           email:                              .com
                                                           Of Attorneys for


         Defendant hereby demands a trial by jury.




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                                CERTIFICATE OF SERVICE
       I hereby certify that I served the foregoing DEFENDANT LEAH HUFFMAN'S

ANSWER TO PLAINTIFF'S COMPLANT on



Joseph A. Grube                                          Anne M. Talcott
Breneman Grube Orehoski, PLLC                            Schwabe, Williamson & Wyatt
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Seattle, WA 98101                                        Portland, OR97204
        Fax: 206-710-7607                                       Fax: 503-796-2900
        Of Attorneys for Plaintiff                              Of Attomeys for Defendant General
                                                         Motors


by the following indicated method or methods:
  X by mailing a full, true and correct copy thereof in a sealed, first-class postage-prepaid
        envelope, addressed to the attorney as shown above, the last-known office address of the
        attorney, and deposited with the United States Postal Service at Lake Oswego, Oregon,
        on the date set forth below.

       by causing a full, true and correct copy thereof to be hand-delivered to the attomey at the
       attorney's last-known office address listed above on the date set forth below.

       by sending a fuIl, true and correct copy thereof via overnight courier in a sealed, prepaid
       envelope, addressed to the attorney as shown above, the last-known office address of the
       attorney, on the date set forth below.

       by faxing a full, true and correct copy thereof to the attorney at the fax number shown
       above, which is the last-known fax number for the attorney's office, on the date set forth
       below. The receiving fax machine was operating at the time of service and the
       transmission was properly completed, according to the attached confirmation report.

       electronic transmission to the electronic mail (email) address of a party who has
       consented to electronic service under UTCR 21.100(l).

       DATED    this      day of March,2020.

                                                               ,/l/
                                               Glenn E                 #9
                                               email:
                                                  Of Attorneys for




Page 1 - CERTIFICATE OF SERVICE                                                     l22n2t4
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